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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                    WACODIVISION

 FACTOR2 MULTIMEDIA SYSTEMS, LLC,                 §
 Plaintiff                                        §
                                                  §
 v.                                               §        Case No. W-24-CA-00362-XR
                                                  §
 EARLY WARNING SERVICES, LLC et al.               §
 Defendant                                        §


                                  ORDER AND ADVISORY

       It is ORDERED that the Plaintiff(s) confer with the Defendant(s) as required by Fed. R.

Civ. P 26(f) to submit (1) a proposed scheduling order and (2) a Rule 26(f) Report in the formats

shown in the attached documents for the Court’s consideration by December 12, 2024. Failure to

do so may result in the Court’s entering its own scheduling order.

       So that this Court may more efficiently manage its docket, the parties are hereby

ORDERED to notify the Court whether or not they consent, under 28 U.S.C. § 636(c), to

Magistrate Judge jurisdiction. Therefore, within thirty (30) days of the date of the filing of this

Order, each party shall sign the appropriate election form to be filed with the Clerk's Office (see

attached).

       It is so ORDERED.

       SIGNED this November 14, 2024.


                                                        _______________________________
                                                        XAVIER RODRIGUEZ
                                                        UNITED STATES DISTRICT JUDGE
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                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                  WACODIVISION

 FACTOR2 MULTIMEDIA SYSTEMS, LLC,                §
 Plaintiff                                       §
                                                 §
 v.                                              §        Case No. W-24-CA-00362-XR
                                                 §
 EARLY WARNING SERVICES, LLC et al.              §
 Defendant                                       §


                PLAINTIFF’S ADVISORY TO THE CLERK OF COURT

       Plaintiff in the above-captioned case elects as follows (please select only one of the
following options):

       □ I consent to proceed before a United States Magistrate Judge in accordance with
          provisions of Title 28 U.S.C. Section 636. Plaintiff in the above-captioned case waives
          the right to proceed before a United States District Judge and consents to have a United
          States Magistrate Judge conduct any and all further proceedings in this case, including
          rendering a decision, and to order the entry of final judgment. Any appeal shall be
          taken to the United States Court of Appeals for the Fifth Circuit in accordance with
          Title 28 U.S.C. Section 636(c)(3).


       □ I do not consent to proceed before a United States Magistrate Judge. Plaintiff in the
          above-captioned case elects not to have this case decided by a United States Magistrate
          Judge and prefers that this case proceed before the United States District Judge.


________________________________________
           Plaintiff’s Name

By: _____________________________________
            Signed by Attorney

                                                                           Date
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                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                  WACODIVISION

 FACTOR2 MULTIMEDIA SYSTEMS, LLC,                §
 Plaintiff                                       §
                                                 §
 v.                                              §        Case No. W-24-CA-00362-XR
                                                 §
 EARLY WARNING SERVICES, LLC et al.              §
 Defendant                                       §


               DEFENDANT’S ADVISORY TO THE CLERK OF COURT

       Defendant in the above-captioned case elects as follows (please select only one of the
following options):
       □ I consent to proceed before a United States Magistrate Judge in accordance with
          provisions of Title 28 U.S.C. Section 636. Defendant in the above-captioned case
          waives the right to proceed before a United States District Judge and consents to have
          a United States Magistrate Judge conduct any and all further proceedings in this case,
          including rendering a decision, and to order the entry of final judgment. Any appeal
          shall be taken to the United States Court of Appeals for the Fifth Circuit in accordance
          with Title 28 U.S.C. Section 636(c)(3).


       □ I do not consent to proceed before a United States Magistrate Judge. Defendant in the
          above-captioned case elects not to have this case decided by a United States Magistrate
          Judge and prefers that this case proceed before the United States District Judge.



________________________________________
           Defendant's Name


By: _____________________________________
            Signed by Attorney

                                                                           Date
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                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS
                                        WACODIVISION

 FACTOR2 MULTIMEDIA SYSTEMS, LLC,                         §
 Plaintiff                                                §
                                                          §
 v.                                                       §         Case No. W-24-CA-00362-XR
                                                          §
 EARLY WARNING SERVICES, LLC et al.                       §
 Defendant                                                §



                       AGREED1 SCHEDULING RECOMMENDATIONS

        The parties recommend that the following deadlines be entered in the scheduling order to
control the course of this case:

        MOTIONS FOR LEAVE TO AMEND PLEADINGS.

        The deadline for Plaintiff(s) to file a motion seeking leave to amend pleadings; or to join
parties is ______________.2

        The deadline for Defendant(s) to file a motion (1) seeking leave to amend pleadings; or (2)
to join parties is ______________.3

        EXPERTS

       All parties asserting claims for relief shall file their designation of testifying experts and
serve on all parties, but not file, the materials required by Fed. R. Civ. P. 26(a)(2)(B) on or before
________________________.4

       Parties resisting claims for relief shall file their designation of testifying experts and serve
on all parties, but not file, the materials required by Fed. R. Civ. P. 26(a)(2)(B) on or before
__________________.5




1 This document should generally be filed as an agreed upon recommendation. If any party cannot agree to a certain
deadline, that party should indicate with specificity why a dispute exists as to the appropriate deadline.
2 Generally 60 days from date of this order.
3 Generally 75 days from date of this order.
4 Generally 90 days from date of this order.
5 Generally 120 days from date of this order.
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        All parties shall file all designations of rebuttal experts and serve on all parties the material
required by Fed. R. of Civ. P. 26(a)(2)(B) for such rebuttal experts, to the extent not already served,
within fifteen (15) days of receipt of the report of the opposing expert.

      The deadline for filing supplemental reports required under Fed. R. Civ. P. 26(e) is
_______________________.

        COMPLETION OF DISCOVERY

       Written discovery requests are not timely if they are filed so close to this deadline that
under the Federal Rules of Civil Procedure the response would not be due until after the deadline.

        The deadline for the completion of all fact discovery is _______________.

        The deadline for the completion of all expert discovery is _______________.

        INFRINGEMENT/INVALIDITY CONTENTIONS

       By _______________, a party claiming patent infringement shall serve upon all parties its
“Disclosure of Asserted Claims and Infringement Contentions,” identifying the accused
product(s), the asserted patent(s) that the accused product(s) allegedly infringe(s), and its damages
model. Such disclosure shall also produce the file history for each asserted patent.

         By ______________, each party opposing a claim of patent infringement, shall serve on
all parties its “Invalidity Contentions”

        Leave of Court is required to amend infringement or invalidity contentions after these
dates. Any request to amend must be submitted as soon as practical.

        CLAIM CONSTRUCTION ISSUE IDENTIFICATION

        No later than _______________, the parties shall exchange a list of those claim
term(s)/phrase(s) that they believe need construction and their proposed claim construction of
those term(s)/phrase(s). This document will not be filed with the Court.

        After the lists are exchanged, the parties will meet and confer to prepare a Joint Claim
Construction Chart to be submitted on _______________. The parties’ Joint Claim Construction
Chart should identify the term(s) or phrase(s) of the claim(s) at issue and describe each party’s
proposed construction of the disputed claim language with citation(s) to the intrinsic evidence in
support of their constructions. The parties should attach to the Joint Claim Construction Chart a
joint appendix including a copy of the patent(s) at issue and portions of all relevant intrinsic
evidence cited in the chart.
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       CLAIM CONSTRUCTION BRIEFING

        The deadline for the parties’ opening briefs on claim construction is _______________.
Leave of court is automatically given to file motions, responses, and replies not to exceed 30 pages
in length.6

       MARKMAN HEARING

         The Court will hear argument on claim construction on _______________. No later than
the date on which their Joint Claim Construction Chart is filed, the parties shall notify the Court,
by joint letter submission (i) whether they request leave to present testimony at the hearing; and
(ii) the amount of time they are requesting be allocated to them for the hearing.




       6 This supersedes the page limit specified in TXWD Local Rules CV-7(d)-(f).
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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

                                                 §
Plaintiff                                        §
                                                 §
v.                                               §        Case No.
                                                 §
                                                 §
Defendant                                        §



                              JOINT FED. R. CIV. P. 26 REPORT

     1. Are there any outstanding jurisdictional issues?
     2. Are there any unserved parties? If more than 90 days have passed since the filing of the
         Complaint or petition, should these unserved parties be dismissed?
     3. What are the causes of action, defenses, and counterclaims in this case? What are the
         elements of the cause(s) of action, defenses, and counterclaims pled? What are the key
         claim terms requiring construction?
     4. Are there any agreements or stipulations that can be made about any facts in this case or
         any element in the cause(s) of action?
     5. Are there any related cases pending in any other court at this time? If so, what is the status
         of those cases? Does Plaintiff plan to file any future related cases? Are there products that
         are not colorably different than the currently-accused products that Plaintiff expects or
         Defendant should expect will be added to the case?
     6. State the parties’ views and proposals on all items identified in Fed. R. Civ. P. 26(f)(3).
     7. What, if any, discovery has been completed? What discovery remains to be done? Have
         the parties considered conducting discovery in phases? What are the core technical
         documents? If source code is going to be produced, when, where, and how will it be made
         available?
     8. What, if any, discovery disputes exist?
     9. Have the parties discussed the desirability of filing a proposed order pursuant to Federal
         Rule of Evidence 502 or a confidentiality and protective order? Are there any reasons this
         case requires provisions that are not typical of the form protective order set forth in
         Appendix H to the Local Rules?
     10. Have the parties discussed mediation?
